1:15-cv-01447-MMM # 27   Page 1 of 8
                                                                      E-FILED
                                       Monday, 14 December, 2015 11:18:16 AM
                                                  Clerk, U.S. District Court, ILCD
1:15-cv-01447-MMM # 27   Page 2 of 8
1:15-cv-01447-MMM # 27   Page 3 of 8
1:15-cv-01447-MMM # 27   Page 4 of 8
1:15-cv-01447-MMM # 27   Page 5 of 8
1:15-cv-01447-MMM # 27   Page 6 of 8
1:15-cv-01447-MMM # 27   Page 7 of 8
1:15-cv-01447-MMM # 27   Page 8 of 8
